                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                            Civil Action No: 1:21-cv-00108

 SUNSHINE CHEVROLET, LLC,                           )
                                                    )
 Plaintiff,                                         )
                                                    )
 v.                                                 )
                                                    )
 NEW YORK MARINE AND GENERAL                        )
 INSURANCE COMPANY, PROSIGHT                        )
 SPECIALTY INSURANCE GROUP, INC.,                   )
 and PROSIGHT GLOBAL, INC.,                         )
                                                    )
 Defendants.                                        )
                                                    )

                                   NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants New York Marine And General

Insurance Company, Prosight Specialty Insurance Group, Inc., and Prosight Global, Inc.,

(collectively “Defendants”), hereby give notice of the removal of this action from the General

Court of Justice, Superior Court Division, Buncombe County, North Carolina, in which the above-

captioned matter is now pending, to the United States District Court for the Western District of

North Carolina. In support of this Notice, Defendants state as follows:

                                      Procedural History

1.      Plaintiff filed its Complaint in the General Court of Justice, Superior Court Division,

Buncombe County, North Carolina on or about 17 March 2021. The Plaintiff named New York

Marine and General Insurance Company (“Marine”), Prosight Specialty Insurance Group, Inc.

(“Prosight”), and Prosight Global Inc. (“Prosight Global”) as Defendants. Defendants received

notice of this action via service of a copy of the Summons and Complaint on 22 March 2021. A




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copy of all process, pleadings, and orders served on Defendants in State Court are attached hereto

as Exhibit A, pursuant to 28 U.S.C. § 1446(a).

                                               Parties

2.     Plaintiff Sunshine Chevrolet, LLC is a limited liability company organized and existing

under the laws of the State of North Carolina with its principal place of business located in North

Carolina.

3.     Don H. Elliot is the managing member of Plaintiff Sunshine Chevrolet, LLC and is

domiciled in Texas.

4.     Kristen Elliot is the other member of Plaintiff Sunshine Chevrolet, LLC and is domiciled

in North Carolina.

5.     Defendant Marine is a corporation organized and existing under the laws of the State of

New York with its principal place of business located in Morristown, New Jersey.

6.     Defendant Prosight is a corporation organized and existing under the laws of the State of

New York with its principal place of business located in Morristown, New Jersey.

7.     Defendant Prosight Global is a corporation organized and existing under the laws of the

State of Delaware with its principal place of business located in Morristown, New Jersey.

8.     Based upon the foregoing, complete diversity exists between Plaintiff (and its members)

and all Defendants.

                                            Jurisdiction

9.     This case is subject to removal under 28 U.S.C. § 1332 (“Diversity of Citizenship”)

because (i) complete diversity of citizenship of the parties exists, and (ii) the amount in controversy

exceeds the sum or value of $75,000.00, exclusive of costs and interest.

10.    All Defendants join in and consent to removal of this action to the United States District



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Court for the Western District of North Carolina.

                                       Basis for Removal

11.    This court has subject matter jurisdiction on the basis of diversity of citizenship under 28

U.S.C. § 1332. Venue is proper pursuant to 28 U.S.C. § 1441(a) because this is the federal district

court for the district embracing the place where the state court action is pending and the federal

district in which the insurance claim at issue in the action was made.

12.    This Notice of Removal is filed with the Court within thirty (30) days of Defendants’

receipt on 22 March 2021 of a copy of the Complaint, which is the pleading from which Defendant

could first ascertain that the case had become subject to removal pursuant to 28 U.S.C. §

1446(b)(3).

13.    As required by 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served upon

Plaintiff, by and through its attorney of record, and is being filed with the Clerk of Court of the

General Court of Justice, Superior Court Division, Buncombe, North Carolina.

       WHEREFORE, Defendants give notice that the entire State Court action under No.: 21

CVS 01074, currently pending in the General Court of Justice, Superior Court Division, Buncombe

County, North Carolina is removed to this Court for all further proceedings.




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This 20th day of April, 2021.

                                    Respectfully submitted,

                                    GOLDBERG SEGALLA LLP

                                    /s/ David L. Brown
                                    David L. Brown
                                    N. C. State Bar #: 18942
                                    GOLDBERG SEGALLA LLP
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                                    Greensboro, NC 27408
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                                    Attorney for Defendants New York Marine
                                    and General Insurance Company, Prosight
                                    Specialty Insurance Group, Inc., and
                                    Prosight Global Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of April, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

registered participants as identified on the Notice of Electronic Filing (NEF).

       I hereby further certify that a true and correct copy of the foregoing was served upon the

following-named person on the 20th day of April, 2021, via regular mail, postage prepaid:

                                 Mr. Stephen J. Grabenstein
                         Van Winkle, Buck, Wall, Starnes & Davis, P.A.
                                   11 North Market Street
                                        P.O. Box 7376
                               Asheville, North Carolina 28802
                                     Attorney for Plaintiff


       This 20th day of April, 2021.

                                                      GOLDBERG SEGALLA LLP

                                                      /s/ David L. Brown
                                                      David L. Brown
                                                      N. C. State Bar #: 18942
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                                                      Attorney for Defendants New York Marine
                                                      and General Insurance Company, Prosight
                                                      Specialty Insurance Group, Inc., and
                                                      Prosight Global Inc.




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